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                       UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


 LUCAS WALL et al.,                               :
                                                  :
      Plaintiffs,                                 :   Case No. 6:21-cv-1008-PGB-DCI
                                                  :
 v.                                               :   District Judge Paul Byron
                                                  :
 SOUTHWEST AIRLINES et al.,                       :   Magistrate Judge Daniel Irick
                                                  :
      Defendants.                                 :


                     PLAINTIFF PETER MENAGE’S MOTION
                       FOR LEAVE TO FILE REPLY BRIEF

      COMES NOW plaintiff Peter Menage, pro se, and moves for an order pursuant

 to Local Rule 3.01(d) granting me leave to file a brief, not to exceed seven pages, in

 reply to Defendant Alaska Airlines’ response to my Motion for Preliminary Injunc-

 tion. Doc. 158. The need for the reply is to rebut numerous false factual statements

 and irrelevant legal arguments raised by Alaska. The deadline should be three days

 after the Court grants leave. I wish to reply to issues including:

      1. There is no federal law enacted by Congress requiring anyone to wear a

         mask.

      2. Alaska has failed to comply with the Federal Transportation Mask Mandate

         and actual laws by refusing my numerous medical exemptions, a fact it does

         not mention anywhere in its brief.




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   3. Alaska may not enforce a policy that violates actual federal laws passed by

      Congress such as the Rehabilitation Act and Air Carrier Access Act as well as

      federal regulations issued by the Department of Transportation. Alaska’s

      Contract of Carriage may not be used to enforce policies that violate laws

      and regulations.

   4. Alaska is not allowed to enforce a mask mandate against disabled passengers

      in violation of these federal laws, regardless of its internal policies.

   5. The Federal Transportation Mask Mandate (CDC and TSA orders, not laws

      passed by Congress and signed by the president) Alaska relies on is illegal

      and unconstitutional.

   6. I am not obligated to follow crew-member instructions that are illegal (e.g.

      discriminatory and retaliatory).

   7. No profanities were “thrown around” on or off the plane.

   8. At no time whatsoever was the term “Nazi” used.

   9. There certainly was no “abusive” and “intimidating” conduct. I did not en-

      gage in any “misconduct.” I have never threatened to intimidate or harm any

      Alaska employee or passenger. I was harassed by the flight crew and CSA.

   10. I am a party to this case and may seek relief from this Court. I am properly

      joined as a plaintiff in the Amended Complaint. Doc. 61.

   11. My motion directly relates to the relief sought in this litigation. Counts 1-16

      of the Amended Complaint allege violations of federal civil-rights and anti-




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       discrimination laws. Count 6 precisely alleges retaliation: “Violation of Fed-

       eral Regulation: Banning Passengers for Asserting Their Rights Under the

       ACAA.”

    12. Alaska’s reliance on Florida state law (“Long-Arm Statute”) has no bearing

       on this motion because I am not asserting claims under state law. My claims

       arise under federal law, for which this Court clearly has jurisdiction.

    13. This is a proper venue for my claims against Alaska because I am properly

       joined as a plaintiff under the Federal Rules of Civil Procedure and my

       claims arise under federal law.

    14. I am not an employee of Alaska, so its argument citing the Equal Employ-

       ment Opportunity Commission is far off base. The Department of Transpor-

       tation regulates airlines, not the EEOC.

    15. The Declaration of David Meyer and the statements of the flight attendants

       are full of inaccurate information. They also fail to mention that Alaska has

       denied my mask-exemption demands numerous times in violation of federal

       laws and regulations.

    16. I was specifically targeted for retaliation because the flight crew was aware

       I’m suing Alaska and have complained numerous times about my medical

       exemption being denied plus the danger to my health masking causes.



    WHEREFORE, I request this Court issue an order granting me leave to file a

 reply brief, maximum seven pages, within three days of the entry of such an order.


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 Local Rule 3.01(g) Certification
 I hereby certify that on Dec. 28, I conferred with Roy Goldberg, counsel for De-
 fendant Alaska Airlines. Mr. Goldberg said his client does not consent to this mo-
 tion for leave to file a reply brief.




 _____________________
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